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IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

MARK RALEIGH, as the Personal :
Representative of the ESATE OF
BRAEDAN RALEIGH, :
Deceased, and BRENT CRIDDLE, :
as the Personal Representative of
the ESTATE OF DEVIN
CRIDDLE, Deceased,

Plaintiffs,
Vv. : NO. 23-CV-00852

AVCO CORPORATION, : CHIEF JUDGE BRANN
AVSTAR FUEL SYSTEMS, INC., :
CHAMPION AEROSPACE, LLC, :
PRECISION AIRMOTIVE, LLC,
Defendants. : ELECTRONICALLY FILED
ENTRY OF APPEARANCE

Kindly enter our appearance as co-counsel for Defendant Champion Aerospace,

LLC in the above-referenced matter.

 

Respectfully submitted,
Myers, Brier & Kelly, LLP /s/ Daniel T. Brier
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Co-Counsel for Defendant, Champion
Aerospace, LLC
Date: July 12, 2023
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CERTIFICATE OF SERVICE

I, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing
Entry of Appearance was served upon the following counsel of record via the Court’s

ECF system on this 12th day of July 2023:

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/s/ Daniel T. Brier
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